  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 98-1579

                    AICARDO RESTREPO,

                  Plaintiff, Appellant,

                            v.

                      PAUL DIPAOLO,

                   Defendant, Appellee.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

            FOR THE DISTRICT OF MASSACHUSETTS

     [Hon. Edward F. Harrington, U.S. District Judge]

                          Before

                 Selya, Stahl and Lynch,
                    Circuit Judges.

 Aicardo Restrepo on brief pro se.
 Scott Harshbarger, Attorney General and Annette C. Benedetto,
Assistant Attorney General on brief for appellee.

November 12, 1998

                                           Per Curiam.  After carefully reviewing the parties'
briefs and the record, we find that the decision of the
Massachusetts Appeals Court affirming petitioner's conviction
was not "contrary to" the rule set out in Jackson v. Virginia,
443 U.S. 307 (1979), for analyzing sufficiency of the evidence
claims.  See 28 U.S.C.  2254(d)(1); O'Brien v. DuBois, 145
F.3d 16, 24, 25 &amp;amp; n.6 (1st Cir. 1998).  We therefore affirm the
judgment of the district court denying petitioner's  2254
petition for essentially the reasons stated in that court's
Memorandum and Order, dated April 8, 1998.
          Affirmed.  See Local Rule 27.1. 

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